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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                             SOUTHEASTERN DIVISION

GEORGE F. ALDRIDGE, JR.,                     )
                                             )
             Plaintiff,                      )
                                             )
v.                                           )       Case No. 1:18-cv-00259-SNLJ
                                             )
NINA HILL,                                   )
                                             )
              Defendant.                     )

                            MEMORANDUM AND ORDER

       This matter comes before the Court on prose plaintiff George Aldridge's motion

"request[ing] subpoena duces tecum" (#72). Defendant has filed an objection thereto.

This Court is also in receipt of five completed subpoena forms that track, but do not

perfectly match, plaintiffs motion (these subpoenas were not attached as exhibits to the

motion, but were rather sent independently by mail). The deadline for discovery has now

.pass·ed-ending October 19, 2020. This Court has already granted an initial round of five

subpoenas (#63), which were timely sought and have been sent to the U.S. Marshal for

service. And plaintiffs additional round of subpoena requests are also timely sought, if

only barely. However, defendant notes in her opposition and as this Court has already

explained to plaintiff that subpoenas sought through operation of Rule 45 require "a brief

explanation of the relevancy of each [subpoena] request so that this Court can assess

compliance with Rule 45( d)O ), which requires the subpoenaing party to 'avoid imposing

undue burden or expense on the person subject to the subpoena."' (#56, p. 3, n. 1).



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Plaintiff makes no such effort in this latest round of subpoena requests. Therefore, his

motion is denied and the subpoenas he has mailed will not be issued for service.

       Plaintiff is reminded, too, that this Court has made clear that no further discovery

extensions would be permitted. (#56, p. 4). The discovery deadline has now past, and

therefore the only subpoenas that will issue are those that have already issued. Today, this

Court granted a 30-day extension to respond to defendant's motion for summary

judgment in order that plaintiff might have the time he needs to receive and review the

already-subpoenaed documents constituting his initial efforts. But, no new discovery-

related efforts will be permitted moving forward. Indeed, this case is nearly two years

old-plaintiff has had ample time to receive documents, and his eleventh hour attempts

can no longer be entertained in light of this Court's clear instruction that the October 19,

2020, discovery deadline was final.

       Accordingly,

       IT IS HEREBY ORDERED that plaintiff George Aldridge's motion

"request[ing] subpoena duces tecum" (#72) is DENIED. The discovery deadline now

passed, and having failed to abide by Rule 45(d)(l) despite this Court's prior instruction,

no further subpoenas shall issue in this case.

       So ordered this 21st day of October 2020.




                                         STEPHEN N. LIMBAUGH, JR.
                                         SENIOR UNITED STATES DISTRICT JUDGE



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